         Case 1:10-cv-00210-PLF Document 66 Filed 10/28/10 Page 1 of 12




                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA


RODNEY LAIL, et al.,                         :
                                             :
              Plaintiffs,                    :
                                             :
       v.                                    : Civil Action No.: 10-0210 (PLF)
                                             :
THE UNITED STATES                            :
GOVERNMENT, et al.,                          :
                                             :
              Defendants.                    :

                      NOTICE REGARDING CHANGE OF ADDRESS

       Please be advised that undersigned counsel for Defendant, The Academy Group, Inc., will

relocate as of November 8, 2010 to:

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       Note that the telephone number and facsimile number remain the same.

                                             Respectfully submitted,

                                             THE ACADEMY GROUP, INC.,
                                             By Counsel


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                                    CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that a true and correct copy of the foregoing Notice Regarding
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Via U.S. First Class Mail

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                                              2
         Case 1:10-cv-00210-PLF Document 66 Filed 10/28/10 Page 3 of 12



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                                             3
         Case 1:10-cv-00210-PLF Document 66 Filed 10/28/10 Page 4 of 12




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                                       4
          Case 1:10-cv-00210-PLF Document 66 Filed 10/28/10 Page 5 of 12




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                                            5
         Case 1:10-cv-00210-PLF Document 66 Filed 10/28/10 Page 6 of 12




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                                       6
          Case 1:10-cv-00210-PLF Document 66 Filed 10/28/10 Page 7 of 12




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                                        7
         Case 1:10-cv-00210-PLF Document 66 Filed 10/28/10 Page 8 of 12




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                                        8
         Case 1:10-cv-00210-PLF Document 66 Filed 10/28/10 Page 9 of 12




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                                        9
         Case 1:10-cv-00210-PLF Document 66 Filed 10/28/10 Page 10 of 12




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                                        10
        Case 1:10-cv-00210-PLF Document 66 Filed 10/28/10 Page 11 of 12




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                                      11
        Case 1:10-cv-00210-PLF Document 66 Filed 10/28/10 Page 12 of 12




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                                       12
